759 F.2d 786
    Steve Leroy WORLEY, Plaintiff-Appellant,v.J.D. SHARP, Oklahoma County Sheriff, Defendant-Appellee,State of Oklahoma, Amicus.Milford Wayne EDWARDS, Plaintiff-Appellant,v.J.D. SHARP, (Sheriff), Defendant-Appellee,State of Oklahoma, Amicus.
    Nos. 83-1024, 83-1026.
    United States Court of Appeals,Tenth Circuit.
    April 2, 1985.
    
      Before SETH, McKAY and SEYMOUR, Circuit Judges.
    
    ON PETITION FOR REHEARING
    
      1
      This matter comes on for consideration of defendant's petition for rehearing which we construe as a motion to recall the mandates.
    
    
      2
      We have fully considered the value of the Oklahoma Department of Health in assembling facts which may be helpful in focusing the record as contemplated in Martinez v. Aaron, 570 F.2d 317 (10th Cir.1978).  Nothing in our opinion, 724 F.2d 862, or prior opinions prevents prison officials from incorporating information within the area of responsibility and expertise of the Health Department and developed by them in the Martinez report prepared by prison officials.  As thus understood, we see no reason to depart from the standards established in Martinez or in our decision in this case.  The responsibility to prepare the appropriate report under the Martinez doctrine must remain with prison officials.
    
    
      3
      Upon consideration of the petition and the brief of amicus curiae, the petition is denied.
    
    